Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 1 of 25. PageID #: 396111




             PSJ14 Janssen Opp Exh 58 – JAN-MS-03741177
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 2 of 25. PageID #: 396112
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 3 of 25. PageID #: 396113
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 4 of 25. PageID #: 396114
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 5 of 25. PageID #: 396115
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 6 of 25. PageID #: 396116
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 7 of 25. PageID #: 396117
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 8 of 25. PageID #: 396118
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 9 of 25. PageID #: 396119
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 10 of 25. PageID #: 396120
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 11 of 25. PageID #: 396121
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 12 of 25. PageID #: 396122
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 13 of 25. PageID #: 396123
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 14 of 25. PageID #: 396124
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 15 of 25. PageID #: 396125
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 16 of 25. PageID #: 396126
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 17 of 25. PageID #: 396127
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 18 of 25. PageID #: 396128
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 19 of 25. PageID #: 396129
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 20 of 25. PageID #: 396130
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 21 of 25. PageID #: 396131
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 22 of 25. PageID #: 396132
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 23 of 25. PageID #: 396133
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 24 of 25. PageID #: 396134
Case: 1:17-md-02804-DAP Doc #: 2391-14 Filed: 08/15/19 25 of 25. PageID #: 396135
